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VAN−020 Deficiency Notice − Petitions (Local) − Rev. 07/08/2019

                               UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                             Raleigh Division



                                                                     CASE NO.: 19−04225−5−SWH

IN RE:                                                               DATE FILED: September 13, 2019

                                                                     CHAPTER: 13


Tara Ann Kenney                                                      Debtor represented by:
( debtor has no known aliases )                                      Tara Ann Kenney
127 Plantation Road                                                  127 Plantation Road
Clayton, NC 27520                                                    Clayton, NC 27520




Trustee:
John F. Logan
Office Of The Chapter 13 Trustee
PO Box 61039
Raleigh, NC 27661−1039



                                                          DEFICIENCY NOTICE

To: Tara Ann Kenney


The petition submitted to the court on behalf of the above referenced debtor(s) has been filed. However,
the petition is deficient as noted below. All deficiencies should be corrected by September 18, 2019 .
Failure to do so may result in the petition being dismissed.

The mailing matrix was omitted or is incomplete.

DATED: September 13, 2019

                                                                    Jade Campbell
                                                                    Deputy Clerk
